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 1      ~i~ ►:   ~~~

 z      136 S. Clark Dr. #5                                                    ~c     ~.-
        Los Angeles, CA 90048                                                         ~ ~~~ s
 3
        Tel: (323) 653-2043                                                           '~~ ~- am        'T1
                                                                                    ~~ r•-, ~; ,., w   T'
 4
                                                                                      ,--f .a
        In Pro Per                                                                  F'~~- ~ s
                                                                                    ~~-~,   z          D
 s
 6
                             UNITED STATES DISTRICT COURT                              `s`      ii1°

 s                          CENTRAL DISTRICT OF CALIFORNIA
 9
                BARRY ROSEN,                      Case No. 17-CV-07727-PSG-JEMx
io Individually and as a Private Attorney
i ~ General
                Petitioner and Plaintiff,         APPLICATION FOR ENTRY OF
tz                                                DEFAULT AGAINST:
13                         vs.                    RESPONDANT/DEFENDANTS
                                                  CITY OF SANTA MONICA AND
14
        UNITED STATES GOVERNMENT,                 UNITED STATES GOVERNMENT,
15      FEDERAL AVIATION                          FEDERAL AVIATION
        ADMINISTRATION, AND CITY OF               ADMINISTRATION
i6
        SANTA MONICA,
i~                  Respondents and
is      Defendants.                               (Declaration of Petitioner/Plaintiff B

19                                                Rosen)
Zo
21
        To the Clerk of the United States District Court for the Central District of
22

23      California:
24
        As provided by Rule 55 of the Federal Rules of Civil Procedure,
25

26      Petitioner/Plaintiff Baay Rosen hereby requests that the Clerk enter

27

f►~:~    APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                                FFEDERAL AVIATION ADMINSTRATION
                                                1
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 1   the default ofthe following Defendants)for failure to plead or otherwise defend
 2
      against this action in a timely manner pursuant to the Courts March 21, 2018 order
 3

 4   (Document 55)due to failure to serve documents prior to filing pursuant to Local
 5
     Rule 5-3.2.1 and Federal Rules of Civil Procedure 5, et al
 6
              Name of Resaondent/Defendant: CITY OF SANTA MONICA

 a    1)As evidenced by the Courts March 21, 2018 order(Document 55),
 9
      named Respondent/Defendant was required to "Respond" to PetitionerlPlaintiff's
io
]1    Third Amended Petition/Com~laint on or before Apri123, 2018.
12
     2)Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and 5(a)(1)(D), a
13

14
     "Response" requires that responsive pleadings or a written motion be served

15    pursuant to Federal Rules of Civil Procedure 5(b).
16
     3)Prior to filing electronically, pursuant to Local Rule 5-3.2.1, Individuals who
17

ig    not registered for the CM/ECF System must be served in accordance with
i9
     F.R.Civ.P. 5, and proof of service on such individuals must be made by declaration
Zo
21
      in the form required by L.R. 5-3.1.2.

22   4)Petitioner/Plaintiffls is Pro Per and is not registered for the CM/ECF System
23
      must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
24

zs   5)As evidenced by named Respondent/Defendant's Proof of Service(Document
26
     63), Petitioner/Plaintiff was not served at all prior to a motion being filed on April
2~
Zs     APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                              FFEDERAL AVIATION ADMINSTRATION
                                              2
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 i   23, 2018 pursuant to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named
2
     Respondent/Defendant's filing was wholly deficient/defective for failure to serve.
3

4    6)Because named Respondent/Defendant's motion filing was deficient/defective
5
     due to lack ofany service whatsoever, the applicable time limit for the above-
6
     named Respondent/Defendant to otherwise respond to the Third Amended

s Petition/Com~laint in this action pursuant to the Courts March 21, 2018 order
9
     expired on April 23, 2018.
io
ii   7)Because named Respondent/Defendant's motion filing was deficient/defective
t2
     for lack of service pursuant to F.R.Civ.P. 5, the above-named
13

14
      Respondent/Defendant have failed to timely plead or otherwise respond to the

l5    Third Amended Petition/Com~laint and are therefore in default.
16
      8)Respondent/Defendant's failure to serve documents on Petitioner/Plaintiff
i~
is    pursuant to F.R.Civ.P. 5 prior to filing also constitutes a violation of L.R 7-12
19
     (Failure to File Required Documents).
20
21
          Name of Resuondent/Defe~dant: UNITED STATES GOVERNMENT

22                     FEDERAL AVIATION ADMINISTRATION
23
     9)As evidenced by the Courts March 21, 2018 order(Document 55),
24

25    named Respondent/Defendant was required to "Respond" to Petitioner/Plaintiff's
26
      Third Amended Petition/Complaint on or before Apri123, 2018.
2~

28     APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                              FFEDERAL AVIATION ADMINSTRATION
                                              3
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  1     10) Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and 5(a)(1)(D), a
 a
        "Response" requires that responsive pleadings or a written motion be served
 3

 4      pursuant to Federal Rules of Civil Procedure 5(b).
 5
        11) Prior to filing electronically, pursuant to Local Rule 5-3.2.1, Individuals who
 6
        are not registered for the CM/ECF System must be served in accordance with

 s      F.R.Civ.P. 5, and proof of service on such individuals must be made by declarati
 9
        in the form required by L.R. 5-3.1.2.
io
li      12) Petitioner/Plaintiff is Pro Per and is not registered for the CM/ECF System and
12
        must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
13

14
        13) As evidenced by named Respondent/Defendant's Proof of Service (Document

15      59-4), Plaintiff was not served at all prior to a motion being filed on Apri123,
16
        2018 pursuant to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named

is      Respondent/Defendant's filing was deficient/defective.
19
        14) Because named Respondent/Defendant's motion filing was deficient/defective
Zo
ai      due to lack of any service whatsoever, the applicable time limit for the above-

az      named Respondent/Defendant to otherwise respond to the Third Amended
23
        Petition/Complaint in this action pursuant to the Courts March 21, 2018 order
24

25      expired on Apri123, 2018.
26

27

f►~:~    APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                                FFEDERAL AVIATION ADMINSTRATION
                                                4
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 t    15)Because named Respondent/Defendant's motion filing was deficient/defective
 2
     for lack of service pursuant to F.R.Civ.P. 5, the above-named
 3

 4   Respondent/Defendant have failed to timely plead or otherwise respond to the
 5
     Third Amended Petition/Comnlaint and are therefore in default.
 6
      16)Respondent/Defendant's failure to serve documents on Petitioner/Plaintiff

 s   pursuant to F.R.Civ.P. 5 prior to filing also constitutes a violation of L.R 7-12
 9
     (Failure to File Required Documents).
io
ii    17)Respondent/Defendant's motion filing was deficient/defective for failure to
i2
     lodge a proposed order pursuant to L.R. 7-20 which also constitutes a violation of
13

14
     L.R 7-12(Failure to File Required Documents).

15    18)The above-named Respondent/Defendant's are not a minor or an incompetent
16
     person.
i~
18    19)The above-named Respondent/Defendant's are not currently in the military
19
     service, and therefore the Service Members Civil Relief Act does not apply
Zo
Zi   20)This request is based on the attached Declaration ofPlaintiff.

22   Dated: Apri127, 2018
23
     Respectfully submitted,
24

25
                                                   Petitioner/Plaintiff In Pro Per,
26
                                                              Barry Rosen
2~
Zs     APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF SANTA MONICA & US GOVERNMENT
                              FFEDERAL AVIATION ADMINSTRATION
                                              5
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                          PROOF OF SERVICE BY MAIL
 ~~
 3
       Case No. 17-CV-07727-PSG-JEMx
 4
       On Apri127, 2018,I served the documents described as:
 s        1.      Application for Entry of Default
 6
          2.      Declaration of Plaintiff
       on all interested parties in this action by placing a true and correct copy thereof in
 s
       sealed envelope, with first-class postage prepaid thereon, and deposited said
 9
       envelope in the United States mail at or in Los Angeles, California,
to
       Addressed to:
i~
       Ivan Campbell
~2
       Santa Monica City Attorney
13
       1685 Main Street, Third Floor
14
       Santa Monica, California 90401-3295
15

16
       Gary Feldon

~s     US, DOJ

19     Civil Division, Federal Program Branch

Zo     200 Massachusetts Avenue NW
Zi     Washington, D.C. 20530
22

23             I declare under penalty of perjury that the foregoing is true and correct.
24     Executed on Apri129, 2018 at Los Angeles, California.
25

26

~~                                                                i ,.,~     ~d
                                                                 ,-
2g ~
                                      PROOF OF SERVICE BY MAIL
